Case 7:21-cv-00491-TTC-RSB Document 4 Filed 10/27/21 Page 1 of 1 Pageid#: 11


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                ROANOKE DIVISION


 ROMAN W. SMITH,                                   Civil Action No. 7:21-cv-00491
     Plaintiff,
                                                   MEMORANDUM OPINION
 v.
                                                   By: Thomas T. Cullen
 SOUTHWEST REGIONAL JAIL                           United States District Judge
 AUTHORITY ABINGDON,
     Defendant(s),


        Plaintiff, proceeding pro se, filed a civil rights complaint under 42 U.S.C. §1983. By

order entered September 23, 2021, the court directed plaintiff to submit, within 20 days from the

date of the order, an inmate account form and a certified copy of plaintiff’s trust fund account

statement for the six-month period immediately preceding the filing of the complaint, obtained

from the appropriate prison official of each prison at which plaintiff is or was confined during

that six-month period. Plaintiff was advised that a failure to comply would result in dismissal of

this action without prejudice.

        More than 20 days have elapsed, and plaintiff has failed to comply with the described

conditions. Accordingly, the court dismisses the action without prejudice and strikes the case

from the active docket of the court. Plaintiff may refile the claims in a separate action once

plaintiff is prepared to comply with the noted conditions.

        The Clerk is directed to send a copy of this Memorandum Opinion and accompanying

Order to plaintiff.

        ENTERED this 27th day of October, 2021.



                                              ______/s/ Thomas T. Cullen______________
                                                    United States District Judge
